                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                      CIVIL ACTION NO. 3:20-CV-487-RJC-DCK

 FOUNDERS FEDERAL CREDIT UNION,                       )
                                                      )
                Plaintiff,                            )
                                                      )
    v.                                                )     ORDER
                                                      )
 LONNIE ROBERT MITCHELL,                              )
                                                      )
                Defendant.                            )
                                                      )

         THIS MATTER IS BEFORE THE COURT on pro se Defendant’s “Motion To Stay

Order” (Document No. 4) filed September 18, 2020. This motion has been referred to the

undersigned Magistrate Judge pursuant to 28 U.S.C. § 636(b), and immediate review is

appropriate. Having carefully considered the motion, the record, and applicable authority, the

undersigned will deny the motion.

         The undersigned notes that Defendant offers no argument or authority supporting his

request that this Court stay a State Court action. See (Document No. 4).

         IT IS, THEREFORE, ORDERED that pro se Defendant’s “Motion To Stay Order”

(Document No. 4) is DENIED.


                                 Signed: November 8, 2020




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